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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )
                                          )                 Case No. 21-cr-00387 (APM)
AUDREY ANN SOUTHARD-RUMSEY,               )
                                          )
      Defendant.                          )
_________________________________________ )


                                            ORDER

       In advance of her stipulated trial, Defendant Audrey Ann Southard-Rumsey has moved to

dismiss Count Nine of the indictment, which charges her with obstruction of an official proceeding

and aiding and abetting in violation of 18 U.S.C. §§ 1512(c)(2), 2. Def.’s Mot. to Dismiss (Count

9), ECF No. 46 [hereinafter Def.’s Mot.]. Defendant argues that the court should adopt the ruling

in United States v. Miller that § 1512(c)(2) must be interpreted narrowly as limited by subsection

(c)(1), and thus requires a defendant to have taken some action with respect to documents, records,

or other object in order to violate the statute. United States v. Miller, 589 F. Supp. 3d 60, 78

(D.D.C. 2022). And, Defendant asserts, because she is not alleged to have taken any action with

respect to any document, record, etc., in order to obstruct, impede or influence an official

proceeding, Count Nine fails to state an offense. Def.’s Mot. at 2–3. This court, however,

disagrees with the reasoning of Miller for the reasons stated by other judges of this court.

See United States v. McHugh, No. 21-cr-453 (JDB), 2022 WL 1302880 (D.D.C. May 2, 2022);

United States v. Reffitt, No. 21-cr-32 (DLF), 2022 WL 1404247, at 7–10 (D.D.C. May 4, 2022);

United States v. Bingert, No. 1:21-cr-91 (RCL), 2022 WL 1659163, at 7–11 (D.D.C. May 25,
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2022); United States v. Fitzsimons, No. 21-cr-158 (RC), 2022 WL 1698063, at 6–12 (D.D.C. May

26, 2022); United States v. Williams, No. 21-cr-0618 (ABJ), 2022 WL 2237301, at *17 n. 13

(D.D.C. June 22, 2022). Count Nine states an offense against Defendant.

          Defendant also cites a memorandum written by former Attorney General William Barr,

which purports to read § 1512(c)(2) as the court did in Miller. Def.’s Mot. at 2. But that

memorandum was written by the former Attorney General as a private citizen and “any suggestion

that the memorandum represents the views of the Department of Justice is inaccurate.” United

States v. Montgomery, 578 F. Supp. 3d 54, 69 n.3 (D.D.C. 2021).

          Finally, to the extent Defendant presses any other arguments about the constitutionality of

§ 1512(c)(2) or the insufficiency of the allegations supporting Count Nine, the court rejects those

for the reasons stated by this court in United States v. Caldwell, 581 F. Supp. 3d 1, 11–33 (D.D.C.

2021), and the court in Montgomery, 578 F. Supp. 3d at 61–87.

          For the foregoing reasons, Defendant’s Motion to Dismiss (Count Nine), ECF No. 46, is

denied.




Dated: January 27, 2023                                       Amit P. Mehta
                                                       United States District Court Judge
